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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA,                      )
                                               )
               v.                              )               CRIMINAL NO. 16-10343-ADB
                                               )
JOHN N. KAPOOR, et al.                         )
           Defendants.                         )


    UNITED STATES’ REPLY IN SUPPORT OF ITS MOTION FOR RESTITUTION
         PURSUANT TO THE MANDATORY VICTIM RESTITUTION ACT

       The Court has informed the parties that it intends to enter an Order of Restitution that is

meaningful, yet somewhat feasible for each Defendant. The government has shared the Court’s

statements at the January 13, 2020 hearing regarding forfeiture and restitution with those victims

whose restitution claims are contested by the Defendants. Resolution of restitution, of course, is

mandatory and must be primarily concerned with compensating losses incurred by victims of the

Defendants’ serious and damaging crimes.

       The law requires (1) that the Court find the amount of restitution owed, and (2) only after

completing step 1, that the Court consider 18 U.S.C. § 3664(h) and/or set a payment schedule for

each defendant based upon that defendant’s resources. See 18 U.S.C. § 3664(f)(2); see also

Paroline v. U.S., 134 S. Ct. 1710, 1728 (2014) (the Court can set payment schedule and manner

based upon defendant’s ability to pay). “In each order of restitution, the court shall order restitution

to each victim in the full amount of each victim’s losses as determined by the court and without

consideration of the economic circumstances of the defendant.” 18 U.S.C. § 3664(f)(1)(A)

(emphasis added). The government has filed a separate motion requesting the Court (a) bifurcate

steps one and two and (b) limit the February 4, 2020 hearing to resolution of step one.
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         The First Circuit has instructed that “[w]hen determining restitution, a sentencing court is

not expected to undertake a full-blown trial”—to the contrary, “a restitution award requires only

a modicum of reliable evidence.” United States v. Naphaeng, 906 F.3d 173, 179 (1st Cir. 2018)

(internal quotations omitted). Defendants ask the Court to impose a far more exacting standard on

the government for proving restitution than is required by law. The government, however, is not

required to re-litigate the months-long trial to adequately support its restitution request. Such a

heightened requirement is inconsistent with the goal of the Mandatory Victim Restitution Act

(MVRA), which strengthens protections for fraud victims. Indeed, by relying on a combination

of letters, affidavits, and other documentary evidence, the government has far exceeded the

“modicum of reliable evidence” needed to support the restitution figure it seeks.

         The restitution sought by in the government’s restitution motion (Doc. 1035) is not only

defensible, but warranted by the MVRA based on the extensive losses sustained by the victims.

Nonetheless, the government is mindful of the Court’s stated intent to “come up with a restitution

amount that is feasible . . . that incentivizes people to try and pay” in order to “maximize the

chances of these awards being satisfied.” 1/13/20 Tr. at 7. In keeping with the Court’s objectives,

and in an effort to streamline the restitution analysis, the government submits herewith

supplemental materials from the commercial payers, certain of which include restitution figures

that have been revised downward in order to incentivize full and expedient payment.

         Further, the government addresses below Defendants’ faulty critiques of the government’s

restitution analysis.

    I.      Additional Patient Restitution Requests

         As contemplated by the MVRA, victims have made additional restitution requests and/or

renewed requests for restitution based upon documents previously provided to the Court and



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counsel. For example, Victim 6002800 previously provided information but the government did

not request restitution on her behalf for her dental harm. Since the original filing, Victim 6002800

obtained a letter from her dentist linking her dental harm to her use of Subsys.1 The Court has

received the following additional requests:


               Victim ID Number 6002800:             Requests $48,816 (documents provided
                                                     along with letters from dentist). Attached as
                                                     Exhibit 1 (UNDER SEAL).

               Victim ID Number 5431212:             Requests $42,839.70 (documents and letter
                                                     provided). Attached as Exhibit 2 (UNDER
                                                     SEAL). This includes (and supersedes) the
                                                     $1,815 sought in the original Motion and
                                                     supported by Exhibits 1 and 10 to that
                                                     Motion.

               Victim ID Number 6192691:             Through counsel, requests restitution and
                                                     provides a number of documents and expert
                                                     reports in support of this request. Counsel
                                                     has informed the government that he intends
                                                     to supplement this request with a letter to the
                                                     Court. Attached as Exhibit 3 (UNDER
                                                     SEAL).

               Victim ID Number 5431204:             Through counsel, requests future care needs
                                                     and lost income. Provides two future care
                                                     plans and supporting documents. The present
                                                     value of the cost of Plan A is $622,156 to
                                                     $622,381. The present value of Plan B is
                                                     $1,340,706 to $1,357,748. Attached as
                                                     Exhibit 4 (UNDER SEAL).




       1
          The government received and encloses two such letters. The first letter indicated that
this victim’s dental problems began in the early 2000’s. After the government noted the date, the
victim obtained a second doctor letter more closely connected in time to the prescription of
Subsys.


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         The Court will recall that each of these victims (or their estate) provided compelling

statements at Dr. Kapoor’s sentencing. At least one of these victims intends to be present on

February 4, 2020 and has requested permission to address the Court.

   II.      The Requested Restitution Does Not Represent an Improper “Pivot” in the
            Government’s Approach to Restitution.

         The government acknowledges that the amount of restitution sought represents a higher

figure than the “loss amount” the government used for purposes of the sentencing guidelines. The

government disagrees, however, with Defendants’ contention that the differing dollar amounts are

somehow improper. The government has been clear throughout the sentencing process that the

USSG “loss amount” used for purposes of the guidelines calculations was a conservative estimate.

The United States explicitly reserved the right to argue an amount of restitution larger than the loss

amount. United States Consolidated Sentencing Memorandum, ECF 1064, at n. 77 (“The United

States reserves the right to seek restitution in excess of the calculated loss amount. See United

States v. Keller, 236 F. App'x 274, 276 (9th Cir. 2007) (holding that because courts are granted

wide latitude in granting restitution, a district court did not err when the loss calculation was lower

than the restitution amount); see also United States v. Huff, 609 F.3d 1240, 1247 (11th Cir.

2010)(tracking similar Circuit Court precedent)).” The government relied upon the conservative

figure with respect to the guidelines range given that the potential sentences associated with even

the conservative figures were substantial.

         The government is in a different position, however, with respect to the amount of restitution

sought, for two critical reasons. First, loss calculations are about punishment; restitution findings

are about the actual harm caused to victims. As set forth in the government’s restitution motion,

restitution is mandatory for crimes involving fraud and deceit—including the crimes of which




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Defendants were convicted. See Doc. 1035 at 1-3. Full and complete restitution to the victims is

thus mandatory, which cannot be limited by a prior conservative estimate.

       Second, where—as here—the underlying criminal conduct involves a conspiracy, the

MVRA dictates that victims of the entire conspiracy are entitled to restitution. Thus, contrary to

Defendants’ assertions, restitution is not limited to victims of the specifically-identified

prescribers, but is instead much more expansive. Because restitution and loss calculation are

distinct concepts, the fact that the government arrived at different figures does not represent a

“fundamental[] inconsisten[cy],” as Defendants allege. (Resp. at 1.)

           A. Past Corporate Resolutions Are Irrelevant to the Restitution Issues Presently
              Before the Court.

       The Defendants contend that the government’s settlement agreements with past

corporations somehow mean that the government is now attempting to punish them because they

are individuals. Not so. Each case presents its own unique facts circumstances, which are

considered when reaching resolution of those cases (for example, by plea agreement). Defendants

have made no showing whatsoever that the instant case is in any way analogous to cases they cite

in which the government has not sought restitution, other than a broad statement that the cases are

all “large healthcare fraud cases.” Doc. 1121 at 2. Having provided no analysis as to why the

Defendants before you are situated similarly to the cases cited in their brief—and indeed, they are

not—Defendants’ complaints about alleged disparate treatment should be rejected.

           B. The Government’s Trial Strategy Is Irrelevant.

       The Defendants improperly attempt to limit the government’s restitution request to only

that restitution consistent with its narrow approach to proving the case at trial. This argument

makes no sense. Obviously, the government will elect to present its case to the jury in a particular

fashion and, particularly in a conspiracy case, the government may elect not to present the full


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scope of the crime during the trial for a variety of reasons, including judicial economy. In

preparing to prove the case to the jury, the government focused its evidence on certain practitioners

and certain proofs of the crimes—even the streamlined trial lasted from January through May.

Now, having convicted the Defendants following nearly four months of trial, the government

properly seeks restitution for all the victims of the Defendants’ sweeping crimes. The Court,

particularly because it presided over the entire case, is no doubt capable of making such a

determination. The law, correctly, does not force the government to choose between presenting

the full scope of its restitution evidence to the trial jury—substantially lengthening an already long

trial—or foregoing full, mandatory restitution.

   III.       Restitution will Be Offset By Any Civil Recoveries.

          Should any of the victims, sophisticated or otherwise, recover for the same loss through

other avenues, the Clerk shall reduce restitution owed to them accordingly. 18 U.S.C. § 3664(j)(2)

(restitution shall be reduced by “any amount later recovered.”). That some of the victims are

sophisticated is neither novel nor problematic. “In no case shall the fact that a victim has received

or is entitled to receive compensation with respect to a loss from insurance or any other source be

considered in determining the amount of restitution.” 18 U.S.C. § 3664(f)(1)(B).2 In other words,

the restitution amount must reflect the loss, and any later recoveries by victims from other sources

would reduce what is paid to them, but then the third-party payors may step into the shoes of the

victim(s) and be entitled to those funds. See 18 U.S.C. § 3664(j)(1).




          2
          It is truly ironic that having reportedly spent in excess of $40 million on their own
defense, the Defendants now argue that their victims have too many resources and the Court
should not bother making those victims whole.



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    IV.      The Execution of the IRC Fraud Involved Far More Prescribers Than the
             Named Co-Conspirator Practitioners.

          Utilization of the IRC was absolutely critical to the success of Insys’ criminal enterprise.

Under Dr. Kapoor, the salesforce pushed hard to have every prescriber “opt-in” to the services of

the IRC. See e.g. Trial Tr. 3/06 at 16. In fact, Insys offered free product to many patients if they

opted into the IRC and the IRC failed to get their prescription authorized for payment. See e.g.

Trial Tr. 3/06 at 56. The IRC operators called insurance companies all day every day and lied

whenever necessary to get approval for payments. See e.g. Trial Tr. 2/14 at 91; see also Trial Tr.

2/25 at 100; Trial Tr. 2/22 at 193. Building from its pilot in 2012, and following its formal launch

in 2013, the IRC was in fact a smashing success for Insys. The IRC was busy and continued to

expand. See e.g. Trial Tr. 2/26 at 73. Every prescription written for Subsys anywhere in the United

States was, according to Dr. Kapoor’s intent and plan, supposed to be sent to the IRC so that the

IRC could work its illegal approval-process magic. See e.g. Trial Tr. 2/14 at 75-76 and 78-79. No

doubt, the conspiracy failed to route the approval of every single prescription to the IRC, but its

capture was remarkable. The IRC gave no regard to the name of the prescriber, except as a

necessary component of the lying process. Any prescription written by any prescriber anywhere

in America was potentially subject to the IRC’s involvement. See e.g. Trial Exhibits 1973, 1974,

1977, 1978 (IRC call evidence relating to Dr. Goldstein); see also Trial Exhibits 1983 and 1981

(IRC call evidence relating to Drs. Gatz and Badday). The IRC evidence was not limited to any

particular set of prescribers.

          The Defendants, however, ask this Court to draw an arbitrary line between the identified

co-conspirator practitioners and reality. This Court should do no such thing. Recognizing the

significance of the fraud, the Court should hold the Defendants financially accountable for the true

breadth of the conspiracy and the full scope of harm the Defendants caused. The Defendants


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seemingly concede that the government is entitled to restitution for 10 of the 13 named

practitioners but argue that the government has not sufficiently linked Drs. Frey, Khanna and

Roque to its restitution request. To the contrary, the linkage is evident: Dr. Frey pleaded guilty in

the Middle District of Florida to a number of crimes, including accepting kickbacks in exchange

for prescribing Subsys. See Plea Agreement of Dr. Michael Frey, United States v. Michael Frey,

2:18-cr-71, (M.D.F.L.), Doc. 3 at 29 (agreeing Insys induced him to write Subsys prescriptions

using kickbacks from at least September 2013 through September 2015). Drs. Khanna and Roque

were opted-in to the IRC by at least January 2013. See Exhibit 5, INS4737304 (Insys business

record demonstrating Khanna and Roque opted-into IRC by January 14, 2013). This evidence

alone is sufficient to prove the IRC fraud touched these prescribers.

        Finally, the Defendants argue that by using the word “those” in its Rule 29/33 Order, this

Court made an affirmative finding that the IRC fraud only touched those prescribers whom the

Defendants bribed. See Defendants’ Response in Opposition, Doc. 1121 at 9. The Court made no

such finding. In fact, such a finding would be inconsistent with the facts and evidence.

   V.      The IRC Lied Almost All Day, Every Day.

        This Court heard countless hours of testimony and evidence regarding the IRC, including

recorded phone calls and testimony from Elizabeth Gurrieri and Lindsey Meyer. There can be no

doubt that the IRC was permeated with fraud and operated under a common plan to do whatever

necessary on each phone call in order to get payment authorized. For example, Elizabeth Gurrieri

gave the following testimony:

               Q.      In terms of the government pay programs like Medicare and the private
                       insurer, the commercial plans, some of the things you talked about, the
                       tried and failed medications that you provided that weren't true, the history
                       of cancer that was provided as active cancer, those lies, right?

               A.      Yes.


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               Q.     Were those provided to commercial and government paid programs?

               A.     Yes.

               Q.     How often?

               A.     Almost every call.

               Q.     How do you know?

               A.     Because I could hear everyone, and I made them as well.

               Q.     Almost every call from the Insys reimbursement center included lies or
                      misrepresentations?

               A.     Most of them, yes.

Trial Testimony of Elizabeth Gurrieri, Trial Tr. 02/22 at 223. IRC Call center operator Lindsey

Meyer also testified about the frequency with which she lied to obtain prior authorizations for

Subsys:

               Q.     How often -- just characterize for the jury about how often you would use
                      the spiel in a given week at Insys.

               A.     I used it every day.

               Q.     Just to make sure we understand, when I say "use the spiel," how often
                      would you say things on the phone to insurance companies that weren't
                      true to get them to approve Subsys prescriptions?

               A.     I ended up using the spiel on almost every call.

               Q.     Was the spiel accurate when you would use it?

               A.     No.

               Q.     Was what you were saying true or was it misleading?

               A.     It was misleading.

Trial Testimony of Lindsey Meyer, Trial Tr. 3/22 at 86.




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   VI.        It Is Simply Not True that the IRC Stopped Lying In 2014.

   The Defendants, in contradiction to the evidence, argue that by the middle of 2014, the IRC no

longer lied about cancer diagnosis. See Doc. 1121 at 14. The Defendants cite the testimony of

Elizabeth Gurrieri regarding written policies about the “spiel.” Yet, the Defendants conveniently

ignore that witnesses, including Elizabeth Gurrieri, testified emphatically that the written policy

did not comport with the actual practices were separate matters. See e.g. Trial Testimony of

Elizabeth Gurrieri, Trial Tr. 2/26 at 74 (lying continued despite written policy); see also Trial

Testimony of Lindsey Meyer, 03/26 at 57 (same; training and practice were to lie regularly to get

approvals).

   VII.       Trial Evidence Established That the Majority of Subsys Prescriptions Were Off-
              Label.

         The Defendants argue that the government has failed to prove to a preponderance that the

IRC lied about patients’ cancer diagnosis. Ignoring trial evidence and facts they know to be true,

the Defendants claim that Medicare might have knowingly permitted off-label payment for Subsys

if a compendium permitted it. See Doc. 1121, n.14. Yet the Defendants know that at no time

during the conspiracy (or after) did any compendium permit off-label use of Subsys and so the

inference they provide in their footnote is plainly false. See e.g. Testimony of Amy Moyer-Carey,

Trial Tr. 03/20 at 227-28 (“no off-label uses in a compendia for Subsys.”). Trial evidence

established this fact and, had the Defendants known otherwise, they certainly would have sought

to present such evidence to the jury, and they did no such thing. Trial evidence also supports

Petron’s observation that a large number of paid prescriptions lacked cancer diagnoses. For

example, Elizabeth Gurrieri testified as follows:




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               Q.      And again, about how often would you see opt-in forms that actually had
                       cancer diagnoses on them?

               A.      Very rarely.

Trial Testimony of Elizabeth Gurrieri, Trial Tr. 02/22 at 211.         It was a centerpiece of the

racketeering scheme that despite the high number of off-label prescriptions, the IRC lied to give

those prescriptions the appearance of being on-label. That Petron corroborated the lack of cancer

diagnosis in the past year is entirely consistent with this evidence. It has never been the

Defendants’ position, nor could it be, that the prescriptions were largely on-label. To the contrary,

the Defendants argued in opening statements and throughout the trial that TIRF medications were

largely prescribed off-label. See e.g. Opening Statement of John Kapoor, Trial Tr. 04/02 at 106-

07 (FDA knew TIRFS were largely being used off-label when they approved Subsys).

   VIII. The Trial Evidence Plainly Established That It Mattered Where a Prior
         Authorization Call Originated.

       Ignoring significant and repeated trial evidence, the Defendants argue that it is not clear

that Medicare would not have approved requests for prior authorization had Medicare known the

request originated at Insys. This argument lacks merit. First, the Defendants claim that somehow

the non-government witnesses that testified at trial, including Moyer-Carey and Schenk, were not

competent to testify on this topic. Yet the Defendants raised no such argument in their plethora of

motions in limine or at trial. Second, the Defendants argue now what they did not at trial—that

IRC caller language like “on behalf of” somehow cures the lies the IRC told the insurers. Not so.

The testimony at trial was consistent, clear and credible—Medicare requires a prescriber

supporting statement and has very stringent rules regarding patient designated authorized

representatives. See e.g. Trial Tr. 03/21 at 62. Finally on this point, the Defendants argue that the

government is condemning the use of third-party call centers. That is not the issue or the point.



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The issue here, and the evidence here, is that the call center at Insys was setup and operated in a

fraudulent manner designed to lie to insurers on a daily basis. This Court need not decide whether

there might be other lawful, or even unlawful, call center operations happening in the United

States.

   IX.       80.9% of All Subsys Prescriptions is a Conservative Estimate of the Amount of
             Subsys Prior-Authorizations Handled by the IRC.

          Defendants challenge the Government’s position that 80.9% of all Subsys claims were

processed by the IRC, arguing that the Government’s figure overstates the number of prescriptions

that passed through Insys’ fraudulent call center. (Resp. at 15-17.) Defendants’ position is belied

by the facts, which demonstrate that the 80.9% figure is likely a conservative estimate of the

number of Subsys prescriptions that passed through the IRC.

          Analysis by FBI Forensic Accountant Bridget Horan demonstrates that in January 2013,

approximately 80.9% of Subsys prescribers opted-in to the IRC’s fraud center. In arriving at this

figure, Ms. Horan reviewed the Relay Reports for January 2013 and determined there were 272

unique Subsys prescribers. Ms. Horan further reviewed an Insys Powerpoint presentation slide

titled “Impact of the IRC” (Trial Exhibit 492), which showed that 220 of those 272 prescribers—

or 80.9%— were enrolled in the IRC as of January 2, 2013. See excerpt of Trial Exhibit 492 at

96, attached as Exhibit 6 (excerpted). Thus, in January 2013, 80.9% of Subsys prescribers had

opted-in to the IRC.

          Defendants note that the 80.9% rate represents “the percentage of prescribers who opted

into the IRC, not the percentage of prescriptions processed by the IRC.” (Resp. at 16) (emphasis

in original). On this point, the government and Defendants agree. But this fact does not help

Defendants’ argument—given that Defendants’ conspiracy specifically targeted the top Subsys

prescribers and successfully urged those prescribers to use IRC, the percentage of total


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prescriptions that passed through the IRC was almost certainly much higher than the percentage

of individual prescribers who used the center.

        Given the nature of the conspiracy, and the evidence adduced at trial regarding aggressive

recruitment of high decile prescribers to the IRC, it is reasonable for this Court to find that the top

Subsys prescribers in the United States utilized Defendants’ fraud center, and that the 80.9%

utilization rate on which the government relies is reasonable.

   X.      The Medicare Restitution Need Not Be Offset.

        Next, Defendants argue that the government must prove the amount of each paid Subsys

claim that would have otherwise been incurred by that payor. This imposes too high a bar and is

inconsistent with the law.     The government has put forth credible evidence to prove to a

preponderance, at least, that but for their significant crimes, Medicare would not have paid the

claims it paid. The Defendants ask this Court to speculate that the losses would have happened

anyway. The Court need not entertain this argument. At trial, the Defendants attempted to limit

their racketeering activity to a so-called “switch program” involving the transition of each patient

from a competitor TIRF to Subsys. See e.g. Opening Statement of John Kapoor, Trial Tr. 04/02

at 99. This argument was disproven by the government and rejected by the jury. The Defendants

deprived the payers the ability to consider what medication to cover, if any, and but for the

Defendants’ crimes, Medicare would not be out this money. First, the evidence at trial proved to

a preponderance, at least, that patients received TIRF medication at times when it was medically

unnecessary, at dosages they did not need, and in a number of dosages they did not need. Second,

the other TIRF medications were subject to the same type of on-label prior authorization policies

as Subsys. See e.g., Testimony of Amy Moyer-Carey, Trial Tr. 03/21 at 237 (same rules for entire

TIRF class). Third, any TIRF prescription would require a prescriber supporting statement, and



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